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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

   CELLULAR COMMUNICATIONS
   EQUIPMENT LLC,
                                                             Civil Action No. 6:13-cv-507
                       Plaintiff,
                                                             JURY TRIAL DEMANDED
   v.                                                         (Consolidated Lead Case)
   HTC CORPORATION, et al.,

                       Defendants.


   CELLULAR COMMUNICATIONS
   EQUIPMENT LLC,

                          Plaintiff,                         Civil Action No. 6:13-cv-511

   v.                                                        JURY TRIAL DEMANDED

   ZTE CORPORATION, et al.

                          Defendants.


            ORDER ON JOINT MOTION TO DISMISS WITHOUT PREJUDICE

         Before the Court is the joint motion to dismiss without prejudice as to constituent Civil

 Action Nos. 6:13-cv-507 and 6:13-cv-511. Having considered the motion and finding that good

 cause exists for the granting of the same, the Court is of the opinion that it should be in all

 respects GRANTED.

         IT IS THEREFORE ORDERED that constituent Civil Action Nos. 6:13-cv-507 and 6:13-

 cv-511 are DISMISSED WITHOUT PREJUDICE. This order does not affect or otherwise

 address constituent Civil Action No. 6:14-cv-251.

        The remaining earliest filed civil action (Civil Action No. 6:14-cv-251) shall now serve as

 the lead case for consolidated issues. The parties shall notify the Court within 10 days if there are

 any docket entries in this case that should be entered in Civil Action No. 6:14-cv-251.
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              So ORDERED and SIGNED this 6th day of July, 2016.
